                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI

SUSAN CHASTEEN,                               )
                                              )
                       Plaintiff,             )
                                              )      Case No.
v.                                            )
                                              )       NOTICE OF REMOVAL
NEW HARRAH’S NORTH KANSAS                     )       CIVIL ACTION
CITY, LLC, and HARRAH’S NORTH                 )
KANSAS CITY, LLC                              )
                 Defendant.                   )


TO:    The Clerk of the above-entitled court and
       all parties and their attorneys of record

       PLEASE TAKE NOTICE that defendant New Harrah’s North Kansas City, LLC, a

citizen of the states of Maryland and New York, and Harrah’s North Kansas City, LLC, a citizen

of the States of Delaware and Nevada, hereby remove the above-entitled action from the Circuit

Court of Clay County, Missouri to the United States District Court for the Western District of

Missouri, reserving all defenses and objections, including, but not limited to, personal

jurisdiction over New Harrah’s North Kansas City, LLC who is an improper party to this matter.

In support of their removal, defendants respectfully state:

       1.      Plaintiff Susan Chasteen filed her Petition on or about June 3, 2020, commencing

an action styled Susan Chasteen v. New Harrah’s North Kansas City, LLC and Harrah’s North

Kansas City, LLC, Case No. 21CY-CV04621 in the Circuit Court of Clay County, Missouri. A

true copy of that Petition is attached hereto as Exhibit A. In her action, plaintiff seeks damages

for personal injuries from an alleged slip-and-fall while on the premise of defendant Harrah’s

North Kansas City, LLC Harrah’s NKC on June 5, 2016. See Exhibit A. Plaintiff seeks

recovery of compensatory damages for her alleged injuries, including past and future medical




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expenses, past and future physical and mental pain and suffering, as well as other costs

associated with this suit. See Exhibit A.

       2.      Defendants received “through service or otherwise” a copy of the plaintiff’s

Summons and Petition on July 14, 2021, when their registered agent in Missouri was served. A

true copy of the Summons’ issued to both defendants are attached as “Exhibit B.” Exhibits A and

B constitute all of the matters sent to or served on the defendants in this action.

       3.      All properly served defendants consent to this Notice of Removal as required by

28 U.S.C.A. § 1446(b).

       4.      Plaintiff is a citizen of the State of Missouri. See Exhibit A.

       5.      Neither defendant is a citizen of the State of Missouri.

               a.       Harrah’s North Kansas City, LLC is a limited liability company. On June

                       5, 2016, and at all times since:

                                    Harrah’s North Kansas City, LLC has had a single member

                                       that holds the membership interests; CEOC, LLC;

                                    CEOC, LLC has had a single member that holds the

                                       membership interests: Caesars Resort Collection, LLC;

                                    Caesars Resort Collection, LLC has had a single member

                                       that holds the membership interests: Caesars Growth

                                       Partners, LLC;

                                    Caesars Growth Partners, LLC has had a single member

                                       that holds the membership interests: Caesars Holdings,

                                       Inc.; and




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                                  Caesars Holdings, Inc., has been a corporation, formed

                                     under the laws of the State of Delaware, with a principal

                                     place of business in Nevada. See Exhibit C, Declaration of

                                     Neal S. Krokosky, Corporate Counsel for Caesars

                                     Entertainment, Inc.

               b.     New Harrah’s North Kansas City is a Delaware limited liability company

                      that was not a legal entity until January 13, 2017, well after the alleged

                      occurrence claimed by plaintiff in her Petition. See Exhibit A. From

                      January 13, 2017, and at all times since:

                                  New Harrah’s North Kansas City, LLC has had a single

                                     member that holds the membership interests: VICI

                                     Properties 1, LLC;

                                  VICI Properties 1, LLC has had a single member that holds

                                     the membership interests: VICI Properties L.P.;

                                  VICI Properties L.P. has had a general partner that manages

                                     the membership interests: VICI Properties GP, LLC;

                                  VICI Properties GP, LLC has had a single member that holds

                                     the membership interests: VICI Properties, Inc.; and

                                  VICI Properties, Inc. has been a corporation, formed under

                                     the laws of the State of Maryland, with a principal place of

                                     business in New York.

       6.      This civil action is properly removable to the United States District Court for the

Western District of Missouri based on the facts enumerated herein, including:




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   a.    This action is a civil action of which the Court has original jurisdiction

         under 28 U.S. C. § 1332(a)(1) and may be removed to this Court pursuant

         to 28 U.S.C. § 1441, in that it is a civil action between citizens of different

         states with the amount in controversy exceeding the sum of $75,000.00,

         exclusive of costs.

   b.    Both at the time of this removal as well as at the time the Petition was

         filed, plaintiff is and was a resident of the state of Missouri. See Ex. A,

         plaintiff’s Petition ¶ 1.

   c.    Both at the time of this removal as well as at the time the Petition was

         filed, defendants are citizens of states other than Missouri, as noted above.

   d.    With respect to the amount in controversy, plaintiff seeks to recover

         compensatory damages for alleged injuries, including past and future

         medical expenses, past and future physical and mental pain and suffering,

         and also seeks other damages. Ex. A. Given the nature of plaintiff’s claims

         and the alleged damages sought, Defendants understand and believe that

         the amount in controversy necessarily exceeds $75,000.000. See Exhibit

         A. Although defendants dispute these amounts, as well as the existence,

         nature, and extent of plaintiff’s alleged injuries and/or damages, they must

         nonetheless be taken into account for purposes of determining the amount

         in controversy.

   e.    This Notice of Removal was filed with this Court within thirty days of

         Defendants having received “through service or otherwise” a




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                       copy of the initial pleading setting forth the claim for relief upon which

                       such action or proceeding is based, as provided by 28 U.S.C. § 1446(b).

       7.       A true copy of the Notice of Removal is being concurrently filed with the Clerk

of the Circuit Court of Clay County, Missouri, as provided by law, and will be concurrently

served upon all parties.

       WHEREFORE, defendants New Harrah’s North Kansas City, LLC and Harrah’s North

Kansas City, LLC respectfully request that this action be removed to the United States District

Court for the Western District of Missouri.

       Dated this 13th day of August, 2021.

                                              Respectfully submitted,

                                              /s/ Joseph A. Kronawitter
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                                              Matthew R. Klose            MO # 68179
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                                              City, LLC




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                              CERTIFICATE OF SERVICE


       The undersigned hereby certifies that the foregoing document was filed with this Court
using the Court’s electronic filing system on this 13th day of August, 2021 which will make a
copy available to counsel of record including:


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                                          /s/ Joseph A. Kronawitter
                                          Attorney




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